           Case 2:03-cr-00316-LKK-JFM Document 113 Filed 12/13/05 Page 1 of 4


Prob 12B                   UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                           (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                         Heather Beatrice RICHARDSON

Docket Number:                         2:03CR00316-03

Offender Address:                      Stockton, California

Judicial Officer:                      Honorable Lawrence K. Karlton
                                       Senior United States Distict Judge
                                       Sacramento, California

Original Sentence Date:                03/23/2004

Original Offense:                      18 USC 1708 - Possession of Stolen Mail
                                       (CLASS D FELONY)

Original Sentence:                     36 months probation; $100 special assessment

Special Conditions:                    Warrantless search and seizure; Financial disclosure;
                                       Credit restrictions; Drug/alcohol treatment, testing and
                                       co-payment; Non-association with co-defendants; Not
                                       possess mail, identification or other documents in any
                                       other name

Type of Supervision:                   Supervised Release

Supervision Commenced:                 07/19/2005

Assistant U.S. Attorney:               Patrick K. Hanly                Telephone: (916) 554-2700

Defense Attorney:                      Candace Fry                     Telephone: (916) 446-9322

Other Court Action:

03/15/2005:                            Probation revoked. Offender sentenced to 6 months
                                       custody of the Bureau of Prisons, and a 36 month term
                                       of supervised release. The same special conditions

                                                                                          Rev. 04/2005
                                                                                       P R O B 1 2B .M R G
      Case 2:03-cr-00316-LKK-JFM Document 113 Filed 12/13/05 Page 2 of 4


RE:    Heather Beatrice RICHARDSON
       Docket Number: 2:03CR00316-03
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER


                                    ordered on March 23, 2004, were ordered, along with a
                                    180 day community corrections center requirement.
                                    Probation was revoked for illicit drug use and failure to
                                    participate in a drug aftercare program.


                               PETITIONING THE COURT

To modify the conditions of supervision as follows:

       1)     The Court vacates the special condition requiring the releasee to reside in
              a community corrections center for a period of 180 days.

       2)     The Court orders the releasee to comply with the conditions of home
              detention for a period of up to 180 days, to commence when directed by the
              probation officer. During this time, the defendant will remain at her place of
              residence except for employment and other activities approved in advance
              by the probation officer. The releasee will maintain telephone service at her
              place of residence without an answering device, call forwarding, a modem,
              caller ID, call waiting, or a cordless telephone for the above period. At the
              discretion of the probation officer, the releasee shall wear an electronic
              monitoring device and follow electronic monitoring procedures as specified
              by her probation officer. The defendant shall pay the cost of electronic
              monitoring as determined by the probation officer.


Justification: Ms. Richardson completed her federal custodial sentence on July 19, 2005,
but she was released to two detainers filed in state court. She was ultimately released
from state custody the end of August 2005. Since the state detainers were in place, she
did not transition directly from prison to the community corrections center, as is usually the
case. She reported for supervision upon release from state custody, and she has been
very compliant on supervised release.


                                                                                      Rev. 04/2005
                                              2                                    P R O B 1 2B .M R G
      Case 2:03-cr-00316-LKK-JFM Document 113 Filed 12/13/05 Page 3 of 4


RE:    Heather Beatrice RICHARDSON
       Docket Number: 2:03CR00316-03
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER


The initial supervision plan was for Ms. Richardson to enter a community corrections center
a few weeks after she reported for supervision. Before referring her to a program, it
became apparent she may not be in need of a placement of this nature and it may actually
stand in the way of achieving goals she has set. The probation officer spoke to the
releasee's former probation officer and determined two of the main reasons a community
corrections center special condition was recommended was due to the instability of
Ms. Richardson's employment and living situations at the time of revocation of probation.

Shortly after supervision started, the releasee was able to get a job working at a restaurant
in Stockton, California. Unfortunately, she was laid-off a few weeks later, as the restaurant
where she worked was not doing well financially and was in danger of closing.
Ms. Richardson is currently participating in a Job Seekers Program. She has established
a stable living arrangement residing in the home of her mother and stepfather. She has
enrolled in Delta College in Stockton, California, and begins attending classes in
January 2006. She hopes to eventually become a substance abuse counselor. Of most
significance, Ms. Richardson is a serious drug addict who has maintained sobriety from
illicit drug use, has done very well and benefitted from participating in substance abuse
counseling.

For the reasons noted above, the probation officer respectfully recommends a reasonable
alternative to the previously ordered 180-day community corrections center special
condition. It is believed an up to 180-day home detention special condition would be an
adequate substitute for the community corrections center requirement. This would allow
Ms. Richardson to remain in the community and continue to make positive strides in her
rehabilitation efforts. Since Ms. Richardson seeks this modification and it can be viewed
as favorable to her, a Waiver of Hearing to Modify Conditions of Supervised Release form
is not attached.




                                                                                     Rev. 04/2005
                                             3                                    P R O B 1 2B .M R G
      Case 2:03-cr-00316-LKK-JFM Document 113 Filed 12/13/05 Page 4 of 4


RE:   Heather Beatrice RICHARDSON
      Docket Number: 2:03CR00316-03
      PETITION TO MODIFY THE CONDITIONS OR TERM
      OF SUPERVISION WITH CONSENT OF THE OFFENDER


                                  Respectfully submitted,

                                   /s/ Richard W. Elkins

                                  RICHARD W. ELKINS
                             United States Probation Officer
                               Telephone: (916) 683-3324

DATED:         December 12, 2005
               Elk Grove, California
               RWE:kms


REVIEWED BY:         /s/ Deborah A. Spencer
                     DEBORAH A. SPENCER
                     Supervising United States Probation Officer




THE COURT ORDERS:

( U ) Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:

December 12, 2005                                /s/ Lawrence K. Karlton
Date                                                Signature of Judicial Officer

cc:   United States Probation
      Patrick J. Hanly, Assistant United States Attorney
      Candace A. Fry, Defense Counsel
      Defendant
      Court File

Attachment:     Presentence Report

                                                                                  Rev. 04/2005
                                             4                                 P R O B 1 2B .M R G
